Case 1:07-cv-08859-BSJ-THK Document 3 Filed 11/15/2007 Pa_ge1 of 3

     
 

  

 

 

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vi LW HO GNVTBAE_EO BOO“':§ HLN]N 'HEI. 333 UNV_|E/\E_i:) ENO >LS H.LN‘W.LSVB gig 32 ` 0 ’O ;au)ll"lep U‘: 35
' F’O'? "PA"Q w` ggpmu mm 91 40 553 am mo S’ !UC?‘°E €” i°" mac 9 =°U °f lu°u='éw 's»*@s sue waude ul}B'§§ A;Ep'§u€q ap V.$/Jc: l v w

255 V£/(/W "7(7 1_-£0= A.§_NF|OO ° c,)_/,£/ O -':|O ELLV.LS

      
  

 

 

 

 

 

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.LZAVCI|:!:IV \9)39'-10!1!19¢| NOU.VE|OdEOO 'DNiddeS` NB>¢V'¥
.______. 553
BNVEI)J V UBVMGEJ -A§NHOLLV >iBOA MEIN .-JO .E.DEHLSEO N__EIZ|HLHDS 30 J\_LNDDC>__

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